 1                                  NOT FOR PUBLICATION
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 6                      IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   Jeremy Thacker,                                 No. CV-18-00063-PHX-DJH
10                Plaintiff,                         ORDER
11   v.
12   GPS Insight LLC, et al.,
13                Defendants.
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15          This matter is before the Court on a number of Motions filed by Plaintiff on
16   November 13, 2018. Plaintiff filed the following: (1) Motion for Leave to File Non-
17   Electronic Document, a thumb drive of audio recordings by Jeremy Thacker (Doc. 124);
18   (2) Motion for Leave to File Excess Pages for Response to Defendants’ Motion for
19   Partial Summary Judgment (Doc. 125); (3) Motion for Summary Judgment in the
20   “Alternative” (Doc. 126); and (4) Response to Defendant’s Motion for Summary
21   Judgment (Doc. 127).
22          Both parties filed a Motion for Partial Summary Judgment on September 28, 2018.
23   (Docs. 112 and 113). This was the dispositive motion deadline set in the Scheduling
24   Order. (Doc. 23 at 5). Dispositive motions filed after September 28, 2018 are thus in
25   violation of the Court’s Scheduling Order. Moreover, parties are not allowed to file more
26   than one summary judgment motion without leave of the Court. (See Doc. 23 at 6, “No
27   party shall file more than one motion for summary judgment under Rule 56 of the Federal
28   Rules of Civil Procedure unless permission is first obtained from the Court.”). Therefore,
 1   Plaintiff’s Alternative Motion for Summary Judgment will be denied as procedurally
 2   deficient and in violation of Court Orders and the Local Rules of this District.
 3          Plaintiff also filed a Motion to file additional pages. Counsel for Plaintiff states
 4   that, “despite efforts,” he “could not pare it [the Response] down any further.” (Doc. 125
 5   at 1). Mr. Silence filed this Motion on November 13, 2018, the day Mr. Silence states
 6   that Plaintiff’s Response was due1.       Plaintiff had previously obtained a two-week
 7   extension of his deadline to file the Response, which the Court approved. (Doc. 122,
 8   Order “allowing Plaintiff up to and including November 12, 2018 to file a Response.”).
 9   Notwithstanding, Plaintiff filed the present Motion to extend page limits on November
10   13, 2018. The Court does not find good cause to allow an extension of page limits and
11   therefore Plaintiff’s Motion will be denied. As a result, the Response that Plaintiff filed
12   on November 13, 2018 (Doc. 127) will be stricken. Plaintiff shall have until November
13   15, 2018, to file a Response that complies with the Local Rules and this Order.2
14          Lastly, Plaintiff filed a Motion for leave to file thumb drives purportedly
15   containing audio recordings of Plaintiff. (Doc. 124). It appears that Plaintiff intends for
16   the Court to listen to these recordings in tandem with his Response to Defendants’
17   Motion for Summary Judgment.          Plaintiff states that “there are disputes about the
18   accuracy of the transcripts that Defendants’ court reporter prepared,” and therefore the
19   Plaintiff believes the Court should listen to these audio recordings and sort out the
20   discrepancies. The Court will not spend its time doing this. If Plaintiff disagreed with
21   the transcript prepared by Defendant, there are other ways Plaintiff could have dealt with
22   this issue. The Court will deny this Motion.
23          Accordingly
24          IT IS HEREBY ORDERED that Plaintiff’s Motion for Leave to File Non-
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      While November 12, 2018, was a Court Holiday, the parties’ stipulation, filed by Mr.
     Silence, stated to the Court that Plaintiff’s Response would be due on November 12,
26   2018. (Doc. 121). Therefore, this is the deadline that the Court Ordered Plaintiff to
     Respond.
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       The Court notes that it has, on more than one occasion, stricken documents filed by
28   Plaintiff as being non-compliant with Local Rules and prior Orders of the Court. (Docs.
     87 and 94, “Plaintiff wholly ignored this Court’s previous Order and LRCiv 7.1.”).

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 1   Electronic Document (Doc. 124) is DENIED.
 2          IT IS FURTHER ORDERED that Plaintiff’s Motion for Leave to File Excess
 3   Pages (Doc. 125) is DENIED.
 4          IT IS FURTHER ORDERED that Plaintiff’s Motion for Summary Judgment
 5   (Doc. 126) is DENIED.
 6          IT IS FINALLY ORDERED that Plaintiff’s Response to Motion for Partial
 7   Summary Judgment (Doc. 127) is STRICKEN for the reasons stated herein. Plaintiff
 8   shall have until November 15, 2018 to file a Response that complies with this Order and
 9   all applicable Rules.
10          Dated this 14th day of November, 2018.
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13                                              Honorable Diane J. Humetewa
14                                              United States District Judge

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